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  BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                     GREENVILLE DIVISION

In Re:                                    )                         Case No. 19-00730-5-JNC
                                          )
CAH Acquisition Company #1, LLC d/b/a     )                         Chapter 11
Washington County Hospital,               )
                                          )
Debtor.                                   )
__________________________________________)


              MOTION FOR AUTHORITY TO FILE A LATE PROOF OF CLAIM

         COMES NOW Blue Cross Blue Shield of North Carolina (“Blue Cross NC”), by and

through its undersigned counsel, and hereby files this motion seeking authority to file a late-filed

claim. In support thereof, Blue Cross NC respectfully shows the Court as follows:

                                         BACKGROUND

         1.     On or about February, 19, 2019, an involuntary petition was filed against debtor

CAH Acquisition Company #1, LLC d/b/a Washington County Hospital (the “Debtor”).

         2.     Thomas W. Waldrep, LLP (the “Trustee”) was appointed chapter 7 trustee for the

Debtor’s estate on February 22, 2019.

         3.     On March 15, 2019, the Debtor converted its case to one under chapter 11. The

Trustee remains in service as the Chapter 11 Trustee.

         4.     Prior to the bankruptcy, on or about August 29, 2012, Blue Cross NC and the

Debtor entered into a Network Participation Agreement (the “Agreement”) under which the

Debtor agreed to participate in Blue Cross NC’s benefit plan and provide certain acute hospital

covered services to Blue Cross NC’s members and Blue Cross NC agreed to reimburse the

Debtor for such services. Pursuant to Paragraph 4.5.5 of the Agreement, the Debtor agreed “not

to bill, charge, seek compensation, remuneration, or reimbursement from any Member, [Blue



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Cross NC], or any third party for health care services and/or supplies provided to Members

which are determined by [Blue Cross NC] not to be Medically Necessary, or are not payable due

to [the] failure to follow [Blue Cross NC’s] applicable Policies and Procedures . . . .”

         5.       Under the Agreement, only certain services were required to be reimbursed by

Blue Cross NC. Section 4.7 of the Agreement states that “You agree that in the event of any

overpayment, duplicate payment, or other payment by us in excess of the member’s benefits

payable according to the member’s benefit plan (“Overpayment”), you will promptly remit

payment to us. In addition to other remedies, if within forty-five (45) days of a request for

refund by us, the requested refund has not been made and you have not appealed the

Overpayment, we may recover this amount by offset 1 of future amounts payable to you.”

         6.       Blue Cross NC’s Special Investigations Unit reviewed claims for laboratory

services that the Debtor submitted to Blue Cross NC from January 1, 2016 to June 30, 2017

under all lines of business. This analysis identified improper billing of laboratory services using

the Debtor’s National Provider Identifier (“NPI”) or Proprietary Provider Number (“PPN”),

which resulted in overpayments of charges for excluded laboratory services totaling

$1,085,827.13. By letter dated November 13, 2017 (the “11/13/17 Letter”), Blue Cross NC

requested that the Debtor refund that amount.

         7.       After the 11/13/17 Letter, Blue Cross NC identified and reviewed claims for

laboratory services that the Debtor had submitted to Blue Cross NC from July 1, 2017 through



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  Although the language in the Agreement uses the word “offset,” North Carolina allows Blue Cross NC to exercise
the right of recoupment against amounts due to the Debtor under the Agreement. See, e.g., In re District Mem. Hosp.
of Southwestern N.C., Inc., 297 B.R. 451 (Bankr. W.D.N.C. 2002) (allowing recoupments of overpayments for
medical claims); Crescent Foods v. Evason Pharmacies, Inc., 15 CVS 1852, 2016 WL 6270257, at *6 (N.C. Super.
Ct. Oct. 5, 2016) (“North Carolina has long recognized recoupment as a valid counterclaim under the proper
circumstances . . . . Defendant has properly asserted a claim for recoupment because the claim arises from the same
transaction as Plaintiff’s claims.” (citing Fields v. Brown, 160 N.C. 295, 298, 76 S.E. 8, 10 (1912); Hurst v. Miller
& Co. v. Everett & Everett, 91 N.C. 399 (1884))).


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November 30, 2017, and identified additional overpayments for excluded laboratory services

totaling $769,674.05. By letter dated January 29, 2018 (the “01/29/18 Letter”), Blue Cross NC

demanded that the Debtor refund $1,855,501.18 (comprised of the $1,085,827 overpayments

made from January 1, 2016 to June 30, 2017 and the $769,674.05 overpayments made from July

1, 2017 through November 30, 2017).

        8.      After the 01/29/18 Letter, Blue Cross NC identified and reviewed claims for

laboratory services that the Debtor submitted to Blue Cross NC from December 1, 2017 to

November 27, 2018 and identified additional overpayments for excluded laboratory services

totaling $633,881.77. By letter dated November 27, 2018 (the “11/27/18 Letter”), Blue Cross

NC demanded that the Debtor refund $2,489,382.95 (comprised of the $1,085,827 overpayments

made from January 1, 2016 to June 30, 2017 and the $769,674.05 overpayments made from July

1, 2017 through November 30, 2017, and the $633,881.77 overpayments made from December

1, 2017 to November 27, 2018).

        9.      Despite the multiple demand letters, the Debtor did not refund any of the

Overpayments requested.

        10.     Since the 11/27/18 Letter, Blue Cross NC has discovered $1,739,477.75 in

additional claims that should have been included in the 11/27/18 Letter for $2,489,382.95. Thus,

there are currently a total of $4,228,860.70 in overpayments (the “Overpayment Arrearage”) that

the Debtor must reimburse Blue Cross NC under the Agreement.

        11.     The Overpayment Arrearage, however, includes $124,312.76 of Overpayments

that were for the North Carolina State Health Plan, which has filed a separate claim for that

amount. Thus, the amount of pre-petition Overpayments that the Debtor currently owes Blue




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Cross NC is $4,104,547.94, and Blue Cross NC seeks to file a claim for this amount (the

“Claim”). A copy of the proposed Claim is attached hereto as Exhibit A.

        12.     Blue Cross NC is continuing to perform its obligations under the Agreement and

has paid the Debtor approximately $37,764.36 for services provided post-petition.

        13.     As discussed supra, Blue Cross NC has the contractual right to recoup the Claim

against any amounts due the Debtor. Blue Cross NC has not, to date, exercised its right to

recoup, but reserves the right to do so.

        14.     The Debtor filed its Schedules and Statement of Financial Affairs on May 15,

2019. The Debtor did not list Blue Cross NC as having a general unsecured claim, nor as being

party to an executory contract with the Debtor.

        15.     On or about March 15, 2019, the Court entered a Notice of Creditors Meeting (the

“Bar Date Notice”), setting the 341 Creditors’ Meeting for April 16, 2019 and setting the bar date

for filing proofs of claims for July 15, 2019. As shown by the Certificate of Service attached

hereto as Exhibit B, Blue Cross NC was not served with or even given notice of the Bar Date

Notice or the Bar Date.

        16.     At no time during the period from the Petition Date until the Bar Date did the Debtor

inform Blue Cross NC of the Bar Date or the Bar Date Order, notwithstanding that the Debtor and

Blue Cross NC were operating under and in frequent communication regarding the Agreement

during this time.

                                            ARGUMENT

        17.     Pursuant to Rules 3002(c)(3) and 9006(b) of the Federal Rules of Bankruptcy

Procedure, the Court may, for cause, extend the deadline for filing claims in a Chapter 11

proceeding upon a finding by the Court of “excusable neglect” on the part of the creditor. Under

this standard, courts have consistently held that creditors who are not provided timely and

reasonable notice of the claims bar date are entitled to file late claims. See, e.g., Pioneer Inv. Servs.



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Co. v. Brunswick Assoc. Ltd. P’ship, 507 U.S. 380, 395 (1993) (finding deficient notice of claims

bar date and allowing late filed claim under excusable neglect standard); In re O’Shaughnessy,

252 B.R. 722, 734 (Bankr. N.D. Ill. 2000) (finding excusable neglect and allowing late filed claim

where creditor was not provided with reasonable or timely notice of claims bar date); In re

Thomson McKinnon Sec. Inc., 130 B.R. 717, 720-21 (Bankr. S.D.N.Y. 1991) (allowing late filed

claim where debtor failed to provide notice to known creditor of claims bar date).

        18.     Based upon the failure to serve Blue Cross NC, a creditor known to the Debtor,

with a copy of the Bar Date Order or otherwise inform Blue Cross NC of the Bar Date, Blue Cross

NC should be permitted to file a proof of claim after the Bar Date.

        19.     Allowing Blue Cross NC to file and assert an unsecured claim will not prejudice

the Debtor or any other creditor in the case. To the contrary, bringing the claim to the attention of

all parties is in everyone’s best interests as it allows the Debtor and Blue Cross NC to continue

operating under the Agreement.

        WHEREFORE, Blue Cross NC respectfully requests that the Court:

        1)      grant the Motion;

        2)      authorize Blue Cross NC to file a late Proof of Claim;

        3)      provide that such Proof of Claim shall be treated in all respects as timely filed; and

        4)      grant such further relief as the Court deems just and appropriate.



        Respectfully submitted this 6th day of September, 2019.


                                                       _/s/ Joseph S. Dowdy__________________
                                                       Joseph S. Dowdy
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                                                       Julie B. Pape, Esq.
                                                       NC Bar No. 27674


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  BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                     GREENVILLE DIVISION

In Re:                                    )                           Case No. 19-00730-5-JNC
                                          )
CAH Acquisition Company #1, LLC d/b/a     )                           Chapter 11
Washington County Hospital,               )
                                          )
Debtor.                                   )
__________________________________________)


    NOTICE OF MOTION FOR AUTHORITY TO FILE A LATE PROOF OF CLAIM

       NOTICE IS HEREBY GIVEN OF THE Motion for Authority to File a Late Proof of
Claim (the “Motion”) filed by Blue Cross Blue Shield of North Carolina.

       If you do not want the court to grant the relief sought in the motion or objection, or if you
want the court to consider your views on the Motion, then, on or before September 23, 2019,
unless otherwise ordered, you or your attorney must file with the court, pursuant to Local Rule
9013-1 and 9014-1, a written response, an answer explaining your position, and a request for
hearing at:

                                       U.S. Bankruptcy Court
                                           P.O. Box 791
                                        Raleigh, NC 27602

       If you mail your response to the court for filing, you must mail it early enough so that the
court will receive it on or before the date stated above.

        If a response and a request for hearing is filed in writing on or before the date set above, a
hearing will be conducted on the Motion at a date, time and place to be later set and all parties
will be notified. If you or your attorney do not take these steps, the court may decide that you do
not oppose the relief sought in the Motion and may enter an order granting that relief.

Date: September 6, 2019

                                                       _/s/ Joseph S. Dowdy__________________
                                                       Joseph S. Dowdy
                                                       NC Bar No. 31941
                                                       Kilpatrick Townsend & Stockton LLP
                                                       Raleigh, NC 27609
                                                       (919) 420-1718
                                                       jdowdy@kilpatricktownsend.com




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                                   CERTIFICATE OF SERVICE


        I, Julie Pape, of the law firm of Kilpatrick Stockton & Petree LLP, certify:

        That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of
age:

        That on September 6, 2019, I electronically filed the foregoing Motion for Authority to
File a Late Proof of Claim with the Clerk of Court using the CM/ECF system, which will send
notification of such filing to the parties listed below on Exhibit A. I further certify that I have
mailed the document to the non CM/ECF participants as set out below on Exhibit A by first
class/certified mail.

        I certify under penalty of perjury that the foregoing is true and correct.

This the 6th day of September, 2019.


                                                       _/s/ Joseph S. Dowdy__________________
                                                       Joseph S. Dowdy
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                                            Exhibit A

 Thomas W. Waldrep (via CM/ECF)
 Chapter 11 Trustee

 Benjamin E.B. Waller (via CM/ECF)
 James Lanik
 Counsel for the Chapter 11 Trustee

 Rayford K. Adams (via CM/ECF)
 Counsel for the Debtor

 Marjorie K. Lynch (via CM/ECF)
 United States Bankruptcy Administrator

 Ryan J. Adams (via CM/ECF)
 Counsel for Aspitar Medical Lab, LLC

 Brian R. Anderson (via CM/ECF)
 Nancy A. Peterman (via CM/ECF)
 Counsel for Health Care Ombudsman

 John Paul H. Cournoyer (via CM/ECF)
 Counsel for Paul Nussbaum, Steven F. White, Rural Community Hospitals of America, LLC, and
 Sun Finance, Inc.

 Jonathan E. Friesen (via CM/ECF)
 Counsel for Wendy C. Phillips

 Matthew A. Petersen (via CM/ECF)
 Stephen W. Petersen (via CM/ECF)
 Counsel for First Capital Corporation

 Katherine McCraw (via CM/ECF)
 Counsel for NC DHHS

 Brian H. Smith (via CM/ECF)
 Counsel for Complete Business Solutions Group, Inc.

 John M. Sperati (via CM/ECF)
 Counsel for Somerset Capital Group, Ltd.

 Christopher A. McElgvin (via CM/ECF)
 Felton Parrish (via CM/ECF)
 Counsel for Security Bank of Kansas City




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 Counsel for ERx, LLC




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